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                             Exhibit 57
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 From: Kim Anderson
 Date: Thu Jan 09 2014 11:18:09 GMT+1100(AEDT)
 Subject: RE: DOJ filing DO NOT FORWARD - Urgent
 To: Demetris Papademetriou

 Just got off a 911 call with their team. Options are coming live as early as this evening for the tribal portfolios.
 It remains to be seen however what type of implications/repercusions/ decree will have on the remaining
 ODFIs/TPPs. Kim Anderson, CEO 1 Longitude Partners, Inc Direct: 813-505-2019 1 Fax: 877-684-3010
 Email: kimAlongitudeinc.com 1 Web: www.longitudeinc.com The information contained in this e-mail
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 you are hereby notified that you have received this document in error and that any review, dissemination,
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 writing, and nothing contained herein shall constitute a contract or electronic signature under the Electronic
 Signatures in Global and National Commerce Act, any version ofthe Uniform Electronic Transactions Act or
 any other statute governing electronic transactions       Original Message       From: Demetris Papademetriou
[mailto:dpapademetriouAmiddlemarchllc.com] Sent: Wednesday, January 08,2014 7:12 PM To: Kim
 Anderson Cc: Sasha Grutman Subject: Re: DOJ filing DO NOT FORWARD - Urgent thanks Kim. Let's stay in
touch on this. it obviously has major implications for matt since he has no other processors.
Demetris Papademetriou Middlemarch Partners W 212-913-9660 C 917-620-8727 > On Jan 8, 2014, at 5:47
PM,"Sasha Grutman" wrote: > > Yes I heard from Vincent. He says it is going to scuttle everything although it
feels to me like it helps state by state. We should discuss ASAP.> > Sasha Grutman > 917-734-4180 > > Sent
from my iPhone > >> On Jan 8, 2014, at 5:07 PM,"Kim Anderson" wrote: >> >> Four Oaks and LST just went
down with immediate implications. Matt/Castle is apparently unable to process tonight. More as I hear it. >> >>
Kim Anderson, CEO 1 Longitude Partners, Inc >> Direct: 813-505-2019 1 Fax: 877-684-3010 >> Email:
kim@longitudeinc.com 1 Web: www.longitudeinc.com >> The information contained in this e-mail message is
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nothing contained herein shall constitute a contract or electronic signature under the Electronic Signatures in
Global and National Commerce Act, any version ofthe Uniform Electronic Transactions Act or any other
statute governing electronic transactions >> >> From: Kim Anderson >> Sent: Wednesday, January 08, 2014
4:56 PM >> To: Matt Martorello (mattm@bellicosevi.com)>> Subject: DOJ filing DO NOT FORWARD >>
>> FYI >> >> Kim Anderson, CEO 1 Longitude Partners, Inc >> Direct: 813-505-2019 1 Fax: 877-684-3010 >>


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